                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                   AT CHATTANOOGA

 UNITED STATES OF AMERICA                        )
                                                 )         Case No. 4:15-cr- 13
 v.                                              )
                                                 )         Judge Travis R. McDonough
 JOHN CLIFFORD AMASON                            )
                                                 )         Magistrate Judge Susan K. Lee
                                                 )


                                              ORDER


        Magistrate Judge Susan K. Lee filed a report and recommendation recommending the

 Court: (1) grant Defendant’s motion to withdraw his not guilty plea to Count One of the three-

 count Indictment (2) accept Defendant’s plea of guilty to the lesser offense of the charge in

 Count One of the Indictment, that is of conspiracy to distribute and possess with intent to

 distribute five grams or more of methamphetamine (actual), a Schedule II controlled

 substance, in violation of 21 U.S.C. §§ 846, 841(a)(1), and 841(b)(1)(B); (3) adjudicate

 Defendant guilty of the lesser offense of the charge in Count One of the Indictment, that is of

 conspiracy to distribute and possess with intent to distribute five grams or more of

 methamphetamine (actual), a Schedule II controlled substance, in violation of 21 U.S.C.

 §§ 846, 841(a)(1), and 841(b)(1)(B); (4) defer a decision on whether to accept the amended

 plea agreement until sentencing; and (5) order that Defendant remain in custody until sentencing

 in this matter. (Doc. 52.) Neither party filed a timely objection to the report and

 recommendation. After reviewing the record, the Court agrees with the magistrate judge’s

 report and recommendation. Accordingly, the Court ACCEPTS and ADOPTS the magistrate

 judge’s report and recommendation (Doc. 52) pursuant to 28 U.S.C. § 636(b)(1) and ORDERS




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 as follows:

    (1)        Defendant’s motion to withdraw his not guilty plea to Count One of the Indictment is

               GRANTED;

    (2)    Defendant’s plea of guilty to the lesser offense of the charge in Count One of the

           Indictment, that is of conspiracy to distribute and possess with intent to distribute five

           grams or more of methamphetamine (actual), a Schedule II controlled substance,

           in violation of 21 U.S.C. §§ 846, 841(a)(1), and 841(b)(1)(B) is ACCEPTED;

    (3)    Defendant is hereby ADJUDGED guilty of the lesser offense of the charge in Count

           One of the Indictment, that is of conspiracy to distribute and possess with intent to

           distribute five grams or more of methamphetamine (actual), a Schedule II

           controlled substance, in violation of 21 U.S.C. §§ 846, 841(a)(1), and

           841(b)(1)(B);

    (4)    A decision on whether to accept the amended plea agreement is DEFERRED until

           sentencing; and

    (5)    Defendant SHALL REMAIN in custody until sentencing in this matter which is

           scheduled to take place on July 15, 2016 at 9:00 a.m. [EASTERN] before the

           undersigned.

    SO ORDERED.

    ENTER:




                                               /s/Travis R. McDonough
                                               TRAVIS R. MCDONOUGH
                                               UNITED STATES DISTRICT JUDGE




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